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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MASSACHUSETTS
WESTERN DIVISION
                                                      )
                                                      )
In re                                                 )      Chapter 7
                                                      )      Case No. 17-30828-EDK
BRIAN T. DESROSIERS                                   )
                                                      )
                                      Debtor          )
                                                      )

        TRUSTEE’S MOTION FOR ORDER APPROVING PRIVATE SALE
OF PROPERTY OF THE ESTATE FREE AND CLEAR OF LIENS AND ENCUMBRANCES
                  PURSUANT TO 11 U.S.C. § 363(b) and (f)


        Now comes Gary M. Weiner, Esq., Chapter 7 Trustee (the “Trustee”) of the Estate of Brian T.
Desrosiers (the “Debtor”), by and through his counsel, Weiner Law Firm, P.C., and hereby moves,
pursuant to Bankruptcy Code § 363(b) and (f), and Bankruptcy Rule 6004(c) for authority to sell, by
private sale, certain real property belonging to the bankruptcy estate (the “Estate”), located at 45
Greenleaf Street Chicopee, Hampden County, Massachusetts, free and clear of all liens, encumbrances
and claims of every kind and description, to Phong Ty Ly and Karina Linares (the “Buyers”) of 10 Los
Angeles Street, South Hadley, MA or their nominee for the sum of $116,500.00, plus a buyer’s premium
of $3,500.00 as set forth in more detail below. A corresponding Notice of Intended Private Sale of
Property, Solicitation of Counteroffers, and Deadline for Submitting Objections and Higher Offers and
Hearing Date (the “Notice of Intended Sale”) is attached as Exhibit “A” to this Motion. In support of
this Motion, the Trustee respectfully states as follows:


   1.         On September 29, 2017, the Debtor filed a voluntary petition for relief under Chapter 7
              of the United States Bankruptcy Code.

   2.         On or about October 2, 2017, Gary M. Weiner was appointed Chapter 7 Trustee in this
              case and he continues to serve in that capacity.


   3.          The matters set forth herein constitute core proceedings pursuant to 28 U.S.C. § 157(b)
              (2) (N).
